          Case 2:95-cr-00216-LDG-RJJ Document 138 Filed 03/31/14 Page 1 of 2




 1

 2

 3

 4

 5

 6

 7                           UNITED STATES DISTRICT COURT
 8                                    DISTRICT OF NEVADA
 9

10   UNITED STATES OF AMERICA,

11           Plaintiff,                               Case No. 2:95-cr-00216-LDG (RJJ)

12   v.                                               ORDER

13   ANTHONY DION COLLINS,

14           Defendant.

15

16           The defendant, Anthony Dion Collins, again moves pro se to reduce or modify his

17   sentence (#132).

18           To the extent that Collins is filing his third motion for a reduction of his sentence

19   pursuant to 18 U.S.C. §3582(c)(2) on the basis that the g uideline range applicable to him

20   was subsequently lowered as the result of an amendment to the Sentencing Guidelines, he

21   has not identified any amendment warranting a reduction of his mandatory life sentence,

22   which was imposed pursuant to statute. 1

23           To the extent that Collins is filing his third motion pursuant to 28 U.S.C. §2255 to

24   correct, modify, or vacate his sentence, the motion must be dismissed as both untimely

25
             1
26                 The Court would note that Collins previously submitted such a motion, which
     the court denied.
       Case 2:95-cr-00216-LDG-RJJ Document 138 Filed 03/31/14 Page 2 of 2




 1   and because Collins has not obtained leave to file such a motion from the Court of

 2   Appeals.

 3         Therefore,

 4         THE COURT ORDERS that Anthony Dion Collins’ Motion Pursuant to 18 U.S.C.

 5   §3582(c)(2) and 28 U.S.C. §994(u) Under the Equal Protection Clause of the Fifth

 6   Amendment (#132) is DENIED.

 7         THE COURT FURTHER ORDERS that Anthony Dion Collins’ Motion for Ripeness

 8   (#136) is DENIED as moot.

 9

10   DATED this ______ day of March, 2014.
11

12                                                            Lloyd D. George
                                                              United States District Judge
13

14

15

16

17

18

19

20

21

22

23

24

25

26

                                                  2
